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AO 245B       (Rev. 1 1/16) Judgment in a Criminal Case                                                                                  JLF/jac (1544201)
              Sheet 1




                                          United States District Court
                                                          Western District Of New York

             UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                   V.



                          Melvin Frazier
                                                                                        Case Number:           6:15CR06102-00I

                                                                                        USM Number:            24120-055

                                                                                        Bryan Scott Oathout
                                                                                        Defendant's Attorney
THE DEFENDANT:

|x| pleaded guilty to count(s)                                                           3 of the Indictment

□ pleaded nolo contendere to count(s)
    which was accepted by the court.

□ was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                               Offense Ended          Count
21 U.S.C. § 841(a)(1),              Conspiracy to Possess With Intent to Distribute, and to Distribute,                  July 2014            3
21 U.S.C. § 841(b)(1)(B) and         100 Grams of More of Heroin
21 U.S.C. § 846




       The defendant is sentenced as provided in pages 2 through                               of this Judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
jx] Open Counts of the Indictment                         □ is        a re    dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant mjust-Hot+Wthecourt and United States attorney of material changes in economic circumstances.

                                  FILED                                      Jul


                            JUL 1 2 2018

                                                                                     ature

                                  DI STRlfiX-

                                                                                       rabl^^'rank P. Geraci Jr., Chief U.S. District
                                                                                            of Judge
                                                                             Name and Title of Judge    y            /


                                                                             D ate
                                                                                              i/11 n
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A0 245B      (Rev. 1 1/16) Judgment in Criminal Case                                                                                JLF/jac (1544201)
             Sheet 2 — Imprisonment

                                                                                                         Judgment — Page       of

 DEFENDANT:                        Melvin Frazier
 CASE NUMBER:                      6:15CR06102-001




                                                              IMPRISONMENT


            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
                                                                          188 months


                                                          The cost of incarceration fee is waived.



            The court makes the following recommendations to the Bureau of Prisons:
            The defendant shall serve his sentence at a suitable Bureau of Prisons facility as close to Bronx County, New York, as possible.




      lEI   The defendant is remanded to the custody of the United States Marshal.

      □     The defendant shall surrender to the United States Marshal for this district:

            □     at                                   □ a.m.      □ p.m.       on

            □     as notified by the United States Marshal.

      □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            □     before 2 p.m. on

            □     as notified by the United States Marshal.

            □     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

 1 have executed this judgment as follows:




            Defendant delivered on                                                          to



 at                                                     , with a certified copy of this Judgment.


                                                                                                       UNITED STATES MARSHAL




                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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A0 245B        (Rev. 1 1/16) Judgment in a Criminal Case                                                                               JLF/jac (1544201)
               Sheet 3 — Supervised Release
                                                                                                           Judgment—Page    ^     of
 DEFENDANT:                       Melvin Frazier
 CASE NUMBER:                    6:15CR06102-001

                                                            SUPERVISED RELEASE

 Upon release from imprisonment, you will be on supervised release for a term of:                      5 years


                                                           MANDATORY CONDITIONS

  1.     You must not commit another federal, state or local crime.
 2.      You must not unlawfully possess a controlled substance.
 3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
         imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                Q      The above drug testing condition is suspended, based on the court's determination that
                        you pose a low risk of future substance abuse, (check ifapplicable)
 4.       CH     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                 restitution, (check ifapplicable)
 5.      |X1     You must cooperate in the collection of DNA as directed by the probation officer, (check ifapplicable)
 6.       n      You must comply with the requirements of the Sex Offender Registration and Notification Act(42 U.S.C. § 16901, et seq.) as
                 directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
                 work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
 7.       n      You must participate in an approved program for domestic violence, (check ifapplicable)



 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
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AO 245B       (Rev. 1 1/16) judgment in a Criminal Case                                                                                JLF/jac (1544201)
              Sheet 3A — Supervised Release

                                                                                                           Judgment—Page             of
DEFENDANT:                      Melvin Frazier
CASE NUMBER:                    6:15CR06102-00I

                                            STANDARD CONDITIONS OF SUPERVISION
As pait of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.


  1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.

  2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
          when you must report to the probation officer, and you must report to the probation officer as instructed
  3.   You must not knowingly leave the federal Judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
  4.      You must answer truthfully the questions asked by your probation officer.
  5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
  6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
       from doing so. If you plan to change where you work or anything about your work (such as your position or your Job responsibilities),
       you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
       not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
          or expected change.
  8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
          convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
          probation officer.
  9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
          designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting the permission of the court.
 12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
          you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
          confirm that you have notified the person about the risk.
 13.      You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

Upon a finding of a violation of probation or supervised release, I understand that this court may (1)revoke supervision,(2) extend the terms
of supervision, and/or (3) modify the conditions of probation or supervised release. A U.S. probation officer has instructed me on the
conditions specified by the court and has provided me with a written copy of this Judgment containing these conditions. For further
information regarding these conditions, see Overview ofProbation and Supervised Release Conditions, available at: www.uscourts.ROV.


Defendant's Signature                                                                                      Date


U.S. Probation Officer's Signature                                                                         Date
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A0 245B   (Rev. 1 1/16) Judgment in a Criminal Case                                                                JLF/jac (1544201)
          Sheet 3B — Supervised Release
                                                                                          Judgment—Page        5   of

DEFENDANT:                 Melvin Frazier
CASE NUMBER:              6:15CR06102-001


                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall participate in a program for substance abuse, including substance abuse testing such as urinalysis and other
testing, and shall undergo a drug/alcohol evaluation and treatment if substance abuse is indicated by the testing. The probation
officer will supervise the details of any testing and treatment, including the selection of a treatment provider and schedule. If
in-patient treatment is recommended, however, it must be approved by the Court unless the defendant consents. The defendant
is not to leave treatment until completion or as ordered by the court. While in treatment and after discharge from treatment, the
defendant is to abstain from the use of alcohol. The defendant is required to contribute to the cost of services rendered.

The defendant is to participate in a mental health treatment program, including a mental health evaluation and any treatment
recommended. The probation officer will supervise the details of any testing and treatment, including the selection of a provider
and schedule. If in-patient treatment is recommended, however, it must be approved by the Court unless the defendant consents.
The defendant is not to leave such treatment until completion or as ordered by the Court. While in treatment or taking
psychotropic medication, the defendant shall abstain from the use of alcohol. The defendant is required to contribute to the cost
of services rendered.


The defendant shall submit to a search of his person, property, vehicle, place of residence or any other property under his
control, based upon reasonable suspicion, and permit confiscation of any evidence or contraband discovered.
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AO 245B    (Rev. 11/16) Judgment in a Criminal Case                                                                                           JLF/jac (1544201)
           Sheet 4 — Criminal Monetary Penalties

                                                                                                                  Judgment-                 of

DEFENDANT:                          Melvin Frazier
CASE NUMBER:                       6:15CR06102-001


                                               CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                       JYTA Assessment*                        Fine                            Restitution
TOTALS                100                             0                                 $    264                       $      0


□     The determination of restitution is deferred until                        An Amended Judgment in a Criminal Case(A0245C) will be entered
      after such determination.


□     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                   Total Loss**                                Restitution Ordered                   Priority or Percentage




TOTALS                              $                                               $

 □    Restitution amount ordered pursuant to plea agreement $
 □    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteenth
      day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
      delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 g]   The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      |x] the interest requirement is waived for the         jxj       fine    □     restitution.
      □ the interest requirement for the          □   fine         □      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113 A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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A0 245B        (Rev. 1 1/16) Judgment in a Criminal Case                                                                                          JLF/jac (1544201)
               Sheet 5 — Schedule of Payments

                                                                                                                     Judgment — Page      7       of        7
 DEFENDANT:                        Melvin Frazier
 CASE NUMBER:                     6:15CR06102-001

                                                               SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     □       Lump sum payment of $                                    due immediately, balance due

               □     not later than                                          , or
               □     in accordance          DC,            □     D,     □      E, or    □ F below; or

 B     13      Payment to begin immediately (may be combined with                       DC,         □    D, or     [x] F below); or

 C        □    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of$                           over a period of
                           (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

 D        □    Payment in equal                            (e.g. , weekly, monthly, quarterly) installments of $                    over a period of
                            (e.g., months or years), to commence                            (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E        □    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        1^   Special instructions regarding the payment of criminal monetary penalties:
               The defendant shall pay a special assessment of $100, which shall be due immediately. If incarcerated, payment shall begin
               under the Bureau of Prisons Inmate Financial Responsibility Program. Payments shall be made to the Clerk, U.S. District Court
               (WD/NY), 2 Niagara Square, Buffalo, New York 14202.

               Interest on the fine is waived. The $264 recovered by law enforcement from the defendant's person on February 12, 2015, shall be
               applied toward the fine.

 Unless the court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 □     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 □     The defendant shall pay the cost of prosecution.

 □     The defendant shall pay the following court cost(s):

 □     The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
